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UNITED STATES DISTRICT
DISTRICT OF NEW JERSEY

lN RE: PROTON-PUMP INIDBITOR
PRODUCTS LIABIIJI"I`Y LITIGATION (NO. H)

mma-2189 (CCC;(MF)
(MDL 2739)

Anthony Homfeck v. AStraZeneoa Pharmaceutieals LP; et al.

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This Document Relates To: )
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2:1?-cv-{)5809 (CCC)(MF) )

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APPEARANCE OF COUNSEL

To: The clerk ot` court and all parties of record
I arn admitted or otherwise authorized to practice in this oourt_. and l appear in this case as

counsel for: Plaintit`f Anthony l-Iornt`eck.

Date: September 6, 201?

Respectfitlly Submitted,

By: [le§fi'LM/{!: &j/ii,i\v

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CERTIFICATION ()F SERIVCE

I hereby certify that a copy ot` the above and foregoing was tiled with the Clerk of the
Courl using the CM;‘ECF system this 6“' day ol`September 201?, thereby giving notice to all

counsel ot`rccord.

fsi Danielle M. Gold

 

